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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      February 14, 2020


BY ECF
The Honorable Andrew L. Carter, Jr.
United States District Court Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Reginald Fowler, S1 19 Cr. 254 (ALC)

Dear Judge Carter:

        The parties respectfully write to request that the Court enter a schedule for pretrial motions
in the above-captioned matter. The parties propose that pretrial motions be filed by February 28,
2020, with oppositions due on March 13, 2020, and any replies due on March 20, 2020.



                                                      Respectfully submitted,

                                                      GEOFFREY S. BERMAN
                                                      United States Attorney

                                               By:    ____________________________
                                                      Jessica Fender
                                                      Sheb Swett
                                                      Samuel Rothschild
                                                      Assistant United States Attorneys
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cc:    Defense counsel of record (by ECF)
